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 3 (916) 443-7141
 4 Attorney for defendant,
   RACHEL HOLMES
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 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,                       )        No. CRS 09 0026 GEB
                                                   )
10                 Plaintiff,                      )        STIPULATION & ORDER
                                                   )        CONTINUING STATUS
11        v.                                       )        CONFERENCE AND
                                                   )        EXCLUDING TIME
12 RACHEL HOLMES, et al.,                          )
                                                   )
13                 Defendants.                     )
   ____________________________________)
14
   The parties hereby stipulate to the following:
15
      1.      A status conference in this matter is set for September 11, 2009 at 9:00
16
              a.m.
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      2.      Defense counsel recently received new discovery material. Additional
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              time is needed to review the documents, and to meet with client and
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              counsel. Both parties, therefore, stipulate that the status conference be
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              continued until October 23, 2009.
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      3.      It is further stipulated by the parties that time continue to be excluded to
22
              October 23, 2009 for preparation of counsel pursuant to local code T4. 18
23
              U.S.C. 3161(h)(8)(B)(iv).
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25
       DATED: September 8, 2009                   /s/ Tim Warriner, Attorney for
26                                                Defendant RACHEL HOLMES
27
       DATED: September 8, 2009                   /s/ Daniel McConkie, Jr.
28                                                Assistant U.S. Attorney


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 3                                     ORDER
 4       GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 5    set for September 11, 2009 be continued to October 23, 2009 at 9:00 a.m., and
 6    that time continue to be excluded to October 23, 2009, for preparation of counsel
 7    pursuant to Local Code T4, 18 U.S.C. 3161(h)(8)(B)(iv).
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 9
10    Dated: September 9, 2009

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12                                 GARLAND E. BURRELL, JR.
                                   United States District Judge
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